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Attorneys for Defendants

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

MAX RUHLMAN and ERIC SAMBOLD,
Case No. 2:14-cv-00879-MMD-NJK
Plaintiffs,

V.

GLENN RUDOLFSKY, individually and
DBA HOUSE OF DREAMS KAUAI and
HOUSE OF DREAMS HAWAII; KIM D.
RUDOLFSKY, AKA KIM DAPOLITO,
individually and DBA HOUSE OF DREAMS
KAUAI and HOUSE OF DRAMS HAWAII,

Defendants.

 

 

DEFENDANTS’ MOTION TO DISMISS
Defendants GLENN RUDOLFSKY (“Mr. Rudolfsky”) and KIM D. RUDOLFSKY
(“Mrs. Rudolfsky”), (collectively “Defendants”) by and through their counsel, the law firm of
Howard & Howard Attorneys PLLC, respectfully move this court to dismiss this matter, as it is
void pursuant to the statute of frauds, and for failure to plead fraud with specificity.
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Defendants base this motion on the pleadings and records on file herein, the Points and
Authorities set forth below, and the oral argument of counsel, if any.
Dated this W day of October, 2015

HOWARD & HOWARD ATTORNEYS PLLC

By: a Wao

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MEMORANDUM OF POINTS AND AUTHORITIES
I. OVERVIEW AND RELIEF REQUESTED

Plaintiffs complain that they entered into an oral agreement and some written
agreements with Defendants. The only written agreements alleged between the parties
document a private mortgage whereby Plaintiffs loaned money to Defendants securing the
subject real property in Hawaii.' The oral agreement allegedly required Defendants to transfer
that same property to an LLC in which Plaintiffs and Defendants would each have an interest.
The alleged oral agreement also required that Defendants share in their profits from the real
estate every quarter year from 2012 to the present time, a period of over 3 years.”

Public policy has recognized since 1677 that oral agreements for the transfer of an
interest in real property is fraught with opportunities to defraud through perjured testimony.

That policy also recognized the same dangers regarding oral contracts where the performance

 

' Complaint at | 18.

2 Id. at [ff 22-23.

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cannot be completed in one year. That policy was enacted as the Statute of Frauds by the
Parliament of England in 1677. Nevada codified the statute of frauds at NRS 111.205, and
declares as void, the exact kinds of oral agreements alleged by Plaintiffs in this matter. This
Court should dismiss the action as violating the statute of frauds.

Plaintiffs additionally claim fraud in the inducement, but fail to meet the rigorous
pleading standards required of fraud claims. Plaintiffs fail to aver the time, the place, the
identity of the parties involved, and the nature of the fraud or mistake, requiring that claim to
be dismissed.

Il. FACTS RELEVANT TO THIS MOTION
Plaintiffs admit to entering into a set of written agreements with Defendants—they
carry a mortgage against the property at issue here - - a five acre estate in Hawaii. Complaint
at § 18.> Now, three years later, Plaintiffs conveniently want the court to ignore the existence
of the mortgage arrangement and instead claim the existence of a joint venture (“hereinafter
“JV”), which allegedly required the Defendants to transfer the real property. But the
Complaint reveals there is no written agreement to that end. Specifically, the Complaint
alleges the following oral agreements to transfer real property:
e Mr. Rudolfsky proposed a joint venture to Ruhlmann on September 26, 2011.
Complaint at {| 7.

e Plaintiffs and Mr. Rudolfsky agreed “that the joint venture to [Sic] purchase, own,
renovate, and rent the five acre estate” through an LLC. Id. at { 8.

e Plaintiffs invested $550,000 into the JV “with the understanding that Plaintiffs

would own half of the five acre Kalihiwa Ridge Estate.” Id. at { 14.

e Plaintiffs initially agreed to have the five acre estate titled in defendants’ names.
Id. at J 15.

e Defendants met with Plaintiffs in Las Vegas in January 2012 and shook hands on
the JV to purchase the five acre estate together. Id. at { 16.

 

3 See Exhibits 1-3 attached hereto and incorporated herein by this reference. Documents referenced in a complaint
are not considered matters outside the pleadings. See In re: Silicon Graphics Inc. Securities Litigation, 183 F.3d
970, 986 (9 Cir. 1999).

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Plaintiffs made only one factual allegation against Defendant Mrs. Rudolfsky
individually—that she lives in New York. Id. at 93. No factual allegation was made against
Defendants House of Dreams Hawaii or House of Dreams Kauai and House. No specific
representation is alleged to have been made by Mrs. Rudolfsky, House of Dreams Hawaii, or
House of Dreams Kauai (the “No Misrepresentation Defendants”). The No Misrepresentation
Defendants are only connected to the remaining allegations in the Complaint by the lone
allegation that all defendants acted as agent and employee of each other and were acting in
that capacity at all times. Id. at 6.
Further, Plaintiffs allege fraud in the inducement against the “defendants”. Id. at {{] 39-48.
The actual factual predicates regarding the “misrepresentations” are completely lacking
against the No Misrepresentation Defendants. As to Mr. Rudolfsky, the allegations of
representations still fall far short of the legal requirement to plead time, place, and specific
content of the alleged false representations with specificity. The following constitutes all
Plaintiffs allege regarding time, place, and content:
e Plaintiffs and Mr. Rudolfsky agreed (without reference to the time and place) that
Ke Aloha, LLC of which Plaintiffs and Mr. Rudolfsky would be members, “would
hold the title to the five acre Kauai estate.” Id. at { 9.

e On March 1, 2012 (at an unalleged location), Mr. Rudolfsky “agreed to the Nevada
LLC structure” outlined in the complaint. Id. at { 13.

e Mr. Rudolfsky (without reference to place) wrote to Plaintiffs “stating that the title
company would only allow the Defendants, who were the original bidders in the
short sale, to be on the title at closing, but that title could be transferred to Plaintiff,

Eric Sambold, at closing for an additional fee of $230.00.” Id. at 9 15 (emphasis
added).

e All other factual allegations are against the “defendants” as a group without
identifying which defendant made any particular representation. Id. at {J 6, 14, 16,
40-45.

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TW. ARGUMENT

Plaintiffs’ complaint must be dismissed, as the non-fraud claims arise out of a
transaction which violates the statute of frauds. Further, as to the fraud in the inducement
claim, the same is not pled with specificity and there are no allegations against the No
Misrepresentation Defendants. The claim must therefore be dismissed.

A. THIS COURT’S STANDARD ON A MOTION TO DISMISS

A court may dismiss a plaintiff's complaint for “failure to state a claim upon which
relief can be granted.” Fed.R.Civ.P. 12(b)(6). A properly pled complaint must provide “[a]
short and plain statement of the claim showing that the pleader is entitled to relief.”
Fed.R.Civ.P. 8(a)(2); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). While Rule
8 does not require detailed factual allegations, it demands “more than labels and conclusions”
or a “formulaic recitation of the elements of a cause of action.” Ashcroft v. Iqbal, 556 US.
662, 678 (2009) (citation omitted).

“Factual allegations must be enough to rise above the speculative level.”
Twombly, 550 U.S. at 555. Thus, to survive a motion to dismiss, a complaint must contain
sufficient factual matter to “state a claim to relief that is plausible on its face.” Igbal, 556 US.
at 678 (citation omitted). In Iqbal, the Supreme Court clarified the two-step approach district
courts are to apply when considering motions to dismiss. First, the court must accept as true all
well-pled factual allegations in the complaint; however, legal conclusions are not entitled to the
assumption of truth. Id. at 678-79. Mere recitals of the elements of a cause of action,
supported only by conclusory statements, do not suffice. Id.

Second, a court must consider whether the factual allegations in the complaint allege a

plausible claim for relief. Id. at 679. A claim is facially plausible when the plaintiffs

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complaint alleges facts that allow the court to draw a reasonable inference that the defendant is
liable for the alleged misconduct. Id, at 678.

Where the complaint does not permit the court to infer more than the mere possibility of
misconduct, the complaint has “alleged—but it has not shown—that the pleader is entitled to
relief.” Id. at 679 (internal quotations omitted). When the allegations in a complaint have not
crossed the line from conceivable to plausible, plaintiff's claim must be dismissed.

Twombly, 550 U.S. at 570.

The Ninth Circuit addressed post-Iqbal pleading standards in Starr v. Baca, 652 F.3d
1202, 1216 (9th Cir. 2011). The Starr court held,

First, to be entitled to the presumption of truth, allegations in a complaint or

counterclaim may not simply recite the elements of a cause of action, but must contain

sufficient allegations of underlying facts to give fair notice and to enable the opposing
party to defend itself effectively. Second, the factual allegations that are taken as true

must plausibly suggest an entitlement to relief, such that it is not unfair to require the
opposing party to be subjected to the expense of discovery and continued litigation.

Concerning claims for fraud (or in this case fraud in the inducement), the Court’s
standard is elevated. To succeed on a claim for fraud in the inducement, one must plead and
prove: 1) a false representation made by Defendant(s); 2) Defendants knew or believed that the
representation was false (or knew that had an insufficient basis for making the representation);
3) Defendants must have intended to induce Plaintiffs to consent to the formation of contract;
4) Plaintiffs justifiably relied upon the misrepresentation; and 5) damage to Plaintiffs resulting
from such reliance. A. Jones Constr. Co. v. Lehrer McGovern Bovis, Inc., 120 Nev. 277

(2004); Lubbe v. Barba, 91 Nev. 596, 598; 540 P.2d 115, 118 (1975).

Furthermore, a claim of “fraud or mistake” must be alleged “with particularity.”

Fed.R.Civ.P. 9(b). A complaint alleging fraud or mistake must therefore include allegations of

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the time, place, and specific content of the alleged false representations and the identities of the

parties involved. See Swartz v. KPMG LLP, 476 F.3d 756, 764 (9" Cir. 2007) (per curiam).

 

Additionally, “Rule 9(b) does not allow a complaint to merely lump multiple defendants
together but requires plaintiff's to differentiate their allegations when suing more than one
defendant.” (Id.) (internal quotations omitted). The circumstances constituting the alleged fraud
must be specific enough to give defendants notice of the particular misconduct alleged so that
they can defend against the charge. Less v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9"

Cir. 2003).

B. PLAINTIFF’S CLAIMS ARE VOID BECAUSE THE ALLEGED
AGREEMENTS TO CREATE A JOINT VENTURE AND FOR PLAINTIFFS
TO OWN THE PROPERTY VIOLATE THE STATUTE OF FRAUDS.

A Motion to Dismiss is appropriate where a contract is allegedly breached, but that
contract is void under the Statute of Frauds. Porter v. Chetal, No. 3:13-CV-00661-LRH-VP,
2014 WL 5307964, at *2 (D. Nev. Oct. 16, 2014) (citing Am. Int'l Enters. v. F.D.L.C., 3 F.3d
1263, 1270 (9th Cir. 1993); Phillips v. Dignified Transition Solutions, No. 2:13—cv—2237, 2014
WL 4294972, at *4 (D.Nev. Aug. 28, 2014)). Plaintiffs here allege an oral agreement
between the parties to enter into a JV (Complaint at 7) that the JV would “purchase, own,
renovate, and rent the five acre estate” through an LLC Id. at ¢ 8. Further, Plaintiffs invested
$550,000 into the JV “with the understanding that Plaintiffs would own half of the five acre
[parcel]” (Id. at ¢ 14) and would initially be titled in Defendants’ names. Id. at { 15.
Defendants met with Plaintiffs in Las Vegas in January 2012 and “shook hands on the joint

venture” agreement to purchase the five acre estate together. Id. at] 16. Plaintiffs claim that

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Defendants agreed to modify the mortgage into ownership in an LLC, but produce no writing to
that end. 4

Plaintiffs do not plead that a written agreement exists for the transfer of the property;
rather, they claim that an oral agreement gives them the right to have the property conveyed to
them. Even if defendants had breached an agreement, Nevada's statute of frauds provides that
every contract for the sale of land is void unless the contract is in writing, and thus, oral
agreements to convey real property cannot be enforced. Nevada's statute of frauds provides
that every contract for the sale of land is void unless the contract is in writing, and thus, oral

agreements to convey real property cannot be enforced. See Butler v. Lovoll, 96 Nev. 931,

 

934-35, 620 P.2d 1251, 1253 (1980).

NRS 111.210. Contracts for sale or lease of land for periods in excess of | year void unless

in writing

1. Every contract for the leasing for a longer period than 1 year, or for the sale of any
lands, or any interest in lands, shall be void unless the contract, or some note or
memorandum thereof, expressing the consideration, be in writing, and be subscribed by
the party by whom the lease or sale is to be made.

See also NRS 111.205(1); Khan v. Bakhsh, 129 Nev. Adv. Op. 57, 306 P.3d 411, 413 (2013).
All claims which rely on the oral agreement? for Plaintiffs’ claim to ownership in the land are

therefore void and must be dismissed.

 

4 Where Plaintiffs desire to enforce an oral agreement to modify their mortgage agreements, this Court has the
authority to find the same void. “No interest in lands shall be surrendered unless by conveyance in writing
subscribed by the party surrendering the same or by his lawful agent thereunto authorized in writing.” Summa
Corp. v. Greenspun, 96 Nev. 247, 251-52 (Nev.1980) (citing Nev.Rev.Stat. § 111.205) (as quoted in Wang v. US.
Bank, NA, No. 2:10-CV-01741-KJD, 2011 WL 2222792, at *2 (D. Nev. June 7, 2011)). Notes secured by a deed
of trust are covered by the statute of frauds, In re Desert Enterprises, 87 B.R. 631, 634 (Bankr.D.Nev.1988), so this
Court has found that oral agreements to modify such notes are generally disallowed, Tomax v. Wells Fargo Home
Mortg., 2011 WL 1157285, at *2 (D.Nev. Mar. 29, 2011); see also 37 C.J.S. Stat. Frauds 95; Powell on Real
Property, Section 81.02[2][d] (“oral modification of a written agreement to convey an interest in property
generally fails”). Courts have recognized that even a forbearance agreement is subject to the statute of frauds. See
Secrest v. Sec, Nat'l Mortg. Loan Trust 2002-2, 84 Cal.Rptr.3d 275, 282-83 (Cal.Ct. App.2008).

 

 

5 First Claim for Relief—Accounting for Profits of JV, Complaint at FJ 20-23 (the claims for an accounting do not
exist without a JV formed by oral agreement to take the property); Second Claim for Relief—Breach of JV
Agreement and Specific Performance, Id. at [J] 24-29 (“under the terms of the Joint Venture Agreement,

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Further, not only does the alleged agreement violate the statute of frauds because it
portends the transfer of real property, but the purported agreement required performance for a
period in excess of a calendar year. Only those oral agreements which are capable of being
fully performed within a year from execution are not void under the Statute of Frauds. NRS
111.220; see also Stanley v. A. Levy & J. Zentner Co., 60 Nev. 432, 112 P.2d 1047, 1052
(1941). Plaintiffs allege that Mr. Rudolfsky first proposed the JV on September 26, 2011.
Complaint at 47. Plaintiffs further allege that Mr. Rudolfsky agreed to the Nevada LLC
structure on March 13, 2012. Plaintiffs do not even allege that the Defendants ever agreed to
transfer the property by any particular deadline. Rather, they carefully dance around this issue

in Paragraph 15, wherein they alleges that Mr. Rudolfsky stated on January 27, 2012 that “title

could be transferred” to Sambold “at closing for an additional fee of $230.00” (emphasis

added).

Notice there is not even an allegation that any of the defendants promised that the
property would be transferred at the close of escrow. So, if the proposal was made in
September 2011, the “contract” the parties allegedly entered into would have had to have been
completed on or before September 25, 2012 in order to escape the effects of the statute of
frauds (which is to avoid frivolous claims such as those at bar here). But Plaintiffs’ own
complaint suggests that it never intended the “contract” to be completed in a year. They allege
that profits were to be paid to them quarterly (Id. at 11), and Plaintiffs are seeking an
accounting and for profits made with the property since 2012 (Id. at {J 21-23), which is a

period in excess of 3 years. Moreover, Plaintiffs anticipate, by this action, future acts in

 

Defendants were obligated to transfer and convey the title” to the property. Id. at § 26 (emphasis added); Third
Claim for Relief—Specific Performance, Id. at {{ 30-35 (Plaintiffs claim an entitlement to have the property
conveyed to them); Sixth Claim for Relief—Breach of the Implied Covenant of Good Faith and Fair Dealing, Id.
at JJ 49-52 (the covenant is based on the alleged oral agreement to form a JV by transferring the property to
Plaintiffs).

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furtherance to the JV “agreement.” Therefore, the performance could not have been completed
within a year and the “agreement” violates the statute of frauds.
Plaintiffs have alleged that the parties intended to form aJV. Although JVs and

partnerships are similar, they are not identical. Hook v. Giuricich, 108 Nev. 29, 31, 823 P.2d

 

294, 296 (1992). Despite the distinction, Nevada caselaw provides that the principles of
partnership law apply to JVs. In re Cay Clubs, 130 Nev. Adv. Op. 92, 340 P.3d 563, 569

(2014) (citing Radaker v. Scott, 109 Nev. 653, 658, 855 P.2d 1037, 1040 (1993)); Haertel v.

 

Sonshine Carpet Co., 102 Nev. 614, 616, 730 P.2d 428, 429 (1986).

Accordingly, Plaintiffs’ claims based upon contract should be dismissed because the
verbal contract alleged by Plaintiff is barred as a matter of law. See Saeme v. Levine, 502 F.
App'x 849, 853 (11"" Cir. 2012) (holding that claims for breach of contract, breach of fiduciary
duty and conversion based upon oral partnership agreement were barred by the statute of frauds
because the two partners intended that performance of their agreement take longer than one
year); Harrington v. Murray, 169 A.D.2d 580, 581, 564 N.Y.S.2d 738, 740 (1991) (holding that
claim based upon purported oral partnership agreement was barred by the statute of frauds);
Gano v. Jamail, 678 S.W.2d 152, 154 (Tex. App. 1984) (holding that oral partnership
agreement between lawyers was barred by statute of frauds because the objective of the
partnership could not be completed within one year).

Moreover, Plaintiffs ask the Court to determine that a JV/partnership exists. Pursuant to
Nevada law, determination of whether a partnership exists must be performed pursuant to
statute. See NRS 87.070 & NRS 87.4322. When an indeterminate oral partnership or
JV/agreement as alleged by Plaintiffs exists, the JV/partnership is deemed to be “at will” and

the partnership may be dissolved at any time upon a “partner’s express will to withdraw as a

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partner,” here manifest when the parties entered into what Plaintiffs term a “bridge mortgage”
instead of transferring the property. Complaint at § 18; see also Exhibits 1-3; NRS 87.4307 &
87.4351(1). Thus, termination of the JV/partnership by either Plaintiff or Defendants would
not constitute a “breach” of any oral agreement. Instead, it would simply constitute an exercise
of that party's statutory rights and all that would remain is a determination of the parties’
respective duties, rights and obligations during the winding up process. NRS 87.4352-87.4357.
These rights were expressed when the parties entered into a mortgage arrangement instead of
any other arrangement complained of.

C. PLAINTIFFS FRAUD IN THE INDUCEMENT CLAIM FAILS FOR LACK
OF SPECIFICITY.

Plaintiffs’ complaint fails to allege the requisite who, what, where, when and how of a
fraud in the inducement claim. See Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9"
Cir. 2003). In actions involving fraud, the circumstances of the fraud are required to be stated
with particularity. Brown v. Kellar, 97 Nev. 582, 583-84, 636 P.2d 874, 874 (1981). “The
circumstances that must be detailed include averments to the time, the place, the identity of the
parties involved, and the nature of the fraud or mistake.” Id. And even then, each Defendant’s
misrepresentation must be spelled out with particularity. Swartz v. KPMG LLP, 476 F.3d at
764,

Here, the Complaint does not contain any of the required specificity. Plaintiff has not
alleged specifically what was said, when it was said, the place it was said or who was present.
The bare allegations set forth in Plaintiff's fraud claim fail to meet the heighted pleading
standard required by Rule 9(b), and in the unlikely event the claim withstands dismissal
Plaintiff should be required to restate the claim in conformance with Nevada law.

Plaintiffs come closest to providing specificity in paragraphs 9, 13, and 15. Sadly, even
these allegations fall far short of the pleading standard in this jurisdiction. In Paragraph 9,

Plaintiffs allege Mr. Rudolfsky agreed (without reference to the time and place, or to the exact

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recipient) that Ke Aloha, LLC of which Plaintiffs and Mr. Rudolfsky would be members, and
“would hold the title to the five acre Kauai estate.” Paragraph 13 alleges a March 1, 2012
communication without the required location or recipient of the communication. Paragraph 15
lacks the requisite reference to place of the communication. All remaining allegations as to
representations fail to name which Defendant made the representation, what the representation
was, where it was delivered, when it was delivered and to whom it was delivered. Plaintiffs
have no allegations against the No Misreprentation Defendants that they made any
representations at all. They should therefore not be required to defend this action.

IV. CONCLUSION
This Court should hold that Plaintiffs’ claims are void, as they violate the statute or frauds.
Similarly, the fraud in the inducement claim is not pled with specificity. Therefore, Defendants
respectfully request that this Court dismiss Plaintiffs’ complaint with prejudice.
Dated: October 4 , 2015

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CERTIFICATE OF SERVICE
Pursuant to Fed. R. Civ. P. 5(b), I certify that on hele day of October, 2015, I caused

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EXHIBIT 1

EXHIBIT 1
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TYPE OF DOCUMENT:
MORTGAGE
PARTIES TO DOCUMENT:

MORTGAGOR: GLENN RUDOLFSKY and KIM RUDOLFSKY,
husband and wife
2825 Shore Drive
Merrick, New York 11566
MORTGAGEE: ERIC R. SAMBOLD, Trustee of the Eric R. Sambold Trust
dated September 1, 2002
8322 Miramar Mall Road
San Diego, California 92121

 

PROPERTY DESCRIPTION:

4781 B Kahiliholo Road
KiJquea, Kauai, Hawaii 96754
Tax Map Key No. (4) 5-2-017-024 (CPR No. 0002

 
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MORTGAGE

KNOW ALL MEN BY THESE PRESENTS:

That GLENN RUDOLFSKY and KIM RUDOLFSKY, husband and wife, whose mailing address
is 2825 Shore Drive, Merrick, New York 11566 (hereinafter called the “Mortgagor”), in order to secure
that certain Promissory Note dated February , 2012, in favor of ERIC R. SAMBOLD, Tnustee of the
Eric R. Sambold Trust dated September 1, 2002, whose mailing address is 8322 Miramar Mall Road, San
Diego, California 92121 (hereinafter called the “Mortgagee”), in the principal amount of FIVE
HUNDRED FIFTY THOUSAND AND 60/100 DOLLARS ($550,000.00), and all renewals, extensions,
modifications, amendments and refinancings thereof (hereinafter called the “Note”), and also the
repayment of any and all other indebtedness now or as may hereafter be or become owing by the
Mortgagor to the Mortgagee, does hereby mortgage, grant, convey, assign, transfer and deliver unto the
Mortgagee, his successors and assigns, the propetty more particularly described in Exhibit “A” attached
hereto and made a part hereof, subject, however, to any encumbrances which may be noted therein,

TOGETHER WITH all buildings and other improvements now or hereafter located on the
property described in Exhibit “A” and all other goods now owned or hereafter acquired which are or are
to become in any manner physically attached to the land or any such improvements, and all additions,
accessions and substitutions to any or all of the foregoing, all of which are and shall be a portion of the
security for the indebtedness hereby secured.

AND TOGETHER ALSO WITH all rights, easements, tenements, privileges, hereditaments and
appurtenances belonging or appertaining to the subject property and the reversions, remainders, rents,
issues, profits and proceeds thereof, and all of the estate, right, title and interest of the Mortgagor, both at
law and in equity, therein and thereto and all further or additional estates, title or interests which may
hereafter be acquired by the Mortgagor in and to the property described in Exhibit “A”, all of which are
hereinafter referred to as the “Mortgaged Property”.

TO HAVE AND TO HOLD the same unto the Mortgagee, forever, with respect to all property
held in fee simple or otherwise without time limitation and for the unexpired term of any property held
under jease or grant for a term.

THE MORTGAGOR WARRANTS TO AND AGREES WITH THE MORTGAGEE that the
Mortgagor is the lawful owner in fee simple of any land hereby mortgaged and is the owner absolutely of
alt personal property which may be hereby mortgaged; that the Mortgagor has good right and lawful
guthority to encumber, sell, assign and convey the Mortgaged Property; that the Mortgaged Property is
free from all encumbrances except as may be specifically described herein; that the Mortgagee shall
quietly enjoy and possess the Mortgaged Property and that the Mortgagor will warrant and defend the
same unto the Mortgagee against any and all lawful claims of all persons, except as aforesaid.

PROVIDED, HOWEVER, that if the Mortgagor shall pay all indebtedness secured by this
Mortgage pursuant to the Note to the Mortgagee, the terms of which Note are incorporated herein and by
reference made a part hereof, and shall discharge any and all other obligations that now are or may
hereafter be or become owing directly or contingently by the Mortgagor to the Mortgagee on any and
every account, whether or not the same are mature, of which obligations the records of the Mortgagee
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shall be prima facie evidence and which obligations are and shall be secured as an additional charge
against all the property hereby mortgaged, and shall observe and perform all of the covenants and
conditions of this Mortgage and shall pay the coats of its release, THEN THESE PRESENTS SHALL BE
VOD.

BUT IN THE EVENT OF DEFAULT in the timely payment of any amount required under the
Note or any part thereof, or in the payment of any other indebtedness secured hereby, or in the repayment
of any disbursement authorized by the terms of this Mortgage and actually made by any holder of the
same; or in the event of default in the performance or observance of any covenant, condition or agreement
contained in this Mortgage or in the Note, or in the performance or observance of any other obligation
hereby secured and such default shall continue for a period of thirty (30) days after the Mortgagee shall
have given the Mortgagor written notice of the default; or if the Mortgagor then holding title to all or any
part of the Mortgaged Property (or any of them if there be more than one) shall be adjudicated a bankrupt
or shall file any petition or answer seeking relief as a debtor under any law for the relief or aid of debtors,
or shall enter into any arrangement or composition with creditors; or if a receiver shall be appointed with
respect to the property herein described; or if the Mortgaged Property or any part thereof shall be seized
or levied upon under any legal process or under claim of legal right; then in each such event the whole
amount of all indebtedness owing by or chargeable to the Mortgagor under this Mortgage or intended to
be secured hereby shall, at the option of the Mortgagee, become at once due and payable without notice
(any provision or terms thereof to the contrary notwithstanding) or demand, and any delay or failure on
the part of the Mortgagee to demand such payment shall not prejudice the right of the Mortgagee thereto,
In each such event, with or without foreclosure, the Mortgagee shall have the immediate right to receive
and colfect all rents, income and profits from the Mortgaged Property whether then due or accrued or to
become due without liability for any loss which may arise for uncollectible rents so long as the Mortgagee
acts with ordinary prudence, and all rents, income and profits are hereby assigned to the Mortgagee
absolutely and not as security for so long as this Mortgage remains in effect, provided that the Mortgagor
may collect the rents, income and profits so long as it is not in default hereunder; and the Mortgagee may,
in the sole discretion of the Mortgagee, foreclose this Mortgage either by civil action with the immediate
right to the appointment of a receiver on ex parte order without bond and with the power to collect all
rents, income and profits, or enter into or terminate leases and otherwise manage and operate the
Mortgaged Property pending foreclosure, or by advertisement and sale, with or without entry and
possession, either as a whole or in parcels, portions or units, and on such terms as to payment, credit and
security for payment as the Mortgagee may approve, at public auction in the Island and County of Maui,
State of Hawaii, unless at the time of such sale the law requires, notwithstanding this provision, that the
sale be held elsewhere, in which event such sale shall be held wherever required by such law, and may,
either in the name of the Mortgagee or as the attorney-in-fact of the Mortgagor, give valid receipts for the
purchase money and effectually assign, transfer and convey the Mortgaged Property so sold to a
purchaser or purchasers absolutely and forever or by any other method then provided by law. Foreclosure
in any manner shall forever bar the Mortgagor and all persons claiming under the Mortgagor from all
right and interest in the property, notwithstanding any provision of law to the contrary now existing or
hereafter enacted, the Mortgagor expressly waiving the benefits thereof. Any foreclosure sale shall not
impair or affect the lien of this Mortgage on any portion of the Mortgaged Property remaining or any
other remedy of the Mortgagee for the recovery of any indebtedness remaining after application of the
proceeds of any foreclosure sale. Out of the proceeds of any foreclosure sale, the Mortgagee may deduct
all costs and expenses of any remedy pursued, including attorneys’ fees, and may pay and discharge any
lien on the Mortgaged Property, either prior or junior to this Mortgage, and retain or be awarded all sums
necessary to repay advances authorized hereunder and to satisfy all indebtedness of the Mortgagor to the
Mortgagee whether or not then due, rendering to the Mortgagor the surplus, if any. If such proceeds shall
be insufficient to discharge the same in full, the Mortgagee shall have any other legal recourse against the
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Mortgagor for the deficiency. This Mortgage shall not prevent nor be deemed to prevent the Mortgagee
from pursuing any remedy whatsoever it may have against the Mortgagor for the collection of the
indebtedness hereby secured and interest thereon, and the Mortgagee may at its option pursue any other
course, successively or concurrently, to collect the indebtedness and interest thereon and may resort to
any other assets of the Mortgagor without first resorting to, and without prejudice to the right to later
resort, to the Mortgaged Property pursuant to this Mortgage.

Notwithstanding any provision contained herein to the contrary, if Mortgagee invokes the power
of sale form of foreclosure, Mortgagee shall: (i) mail Mortgagor a notice of sale; (ii) publish a notice of
sale; and (iii) shall sell the Property at the time and place specified in the notice of sale. Mortgagee or
Mortgagee’s designee may purchase the Property at any sale under power of sale or judicial sale.

The proceeds of any sale shall be applied in the following order: (a) to all reasonable costs and
expenses of sale, including, but not limited to, reasonable attomey’s fees and costs of title evidence; (b) to
all sums secured by this Mortgage; and (c) the excess, if any, to the person or persons legally entitled
thereto. IF THE PROCEEDS SHALL BE INSUFFICIENT TO DISCHARGE THE ENTIRE
INDEBTEDNESS OF MORTGAGOR TO MORTGAGEE, THE MORTGAGEE MAY HAVE
OTHER LEGAL RECOURSE AGAINST MORTGAGOR FOR THE DEFICIENCY.

Until any default, the Mortgagor may hold and enjoy the Mortgaged Property and receive the
rents, issues, income and profits therefrom.

THE MORTGAGOR HEREBY COVENANTS WITH THE MORTGAGEE THAT:

i. The Mortgagor will pay when due unto the Mortgagee all installments of principal and
interest payable by the terms of the Note hereby secured, and all! other indebtedness now or as may
hereafter be or become owing by the Mortgagor to the Mortgagee on any and every account, together with
interest thereon at the rate applicable thereto, all of which shall be paid in lawful money of the United
States of America.

2. The Mortgagor will punctually pay and discharge when due and payable all taxes and
assessments of every kind and nature that may be levied, assessed or imposed upon the Mortgaged
Property or any part thereof or any interest therein or with respect to any indebtedness secured hereby
notwithstanding any law imposing payment of the whole or any part upon the Mortgagee, The Mortgagor
will, upon request, deposit the receipts therefor with the Mortgagee. Upon the breach of this covenant or
the passage of any law imposing payment of the whole or any part of the foregoing taxes upon the
Mortgagee or making this covenant legally inoperative or upon the rendering by any court of last resort of
a decision that this covenant is legally inoperative, then and in any such event all indebtedness hereby
secured shall immediately become due and payable notwithstanding anything to the contrary contained in
this Mortgage or in the Note or other obligations secured hereby or in any law hereinafter enacted. The
Morttgagor will also punctually pay all impositions, duties and charges of every other kind and description
that may be levied, assessed or imposed upon the Mortgaged Property or any part thereof or any
improvements thereon or income therefrom without any deduction from the indebtedness secured by this
Mortgage.

3, The Mortgagor will keep the Mortgaged Property in good condition and repair and will
not cause or permit any strip or waste or unlawful, improper or offensive use of the premises and will
restore and replace all improvements now or hereafter on the premises damaged or destroyed by aay
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cause whatsoever. The Mortgagor will also comply with all laws, rules and regulations made by
governmental or private authority and applicable thereto.

4. The Mortgagor will not create or suffer to be created any statutory or other lien or charge
upon the Mortgaged Property or any part thereof or the income therefrom which shall be prior to, or on a
parity with, the lien of this Mortgage, except liens of taxes or assessments not yet payable or payable
without penalty so long as so payable; provided, however, that nothing contained in this paragraph shal!
be deemed to require the Mortgagor to pay or cause to be paid any tax, assessment or charge, or to satisfy
any such lieo, or to conform to any such term, covenant, condition or requirement so long as the
Mortgagor, in good faith and by appropriate action diligently pursued, shal] contest or cause to be
contested the validity thereof (provided the security afforded by this Mortgage shall not thereby be
subjected to any sale or reasonable probability of forfeiture or loss). The Mortgagor will not claim any
credit on interest payable on the Note or on any other payments secured hereby for any portion of the
taxes assessed against the Mortgaged Property and the provisions of any law entitling the Mortgagor to
such credit are hereby expressly waived by the Mortgagor.

5. No building or other property now or hereafter erected and covered by the lien of this
Mortgage shall be removed or demolished without the prior written consent of the Mortgagee, except that
the Mortgagor shall have the right, without such consent, to remove and dispose of, free from the lien of
this Mortgage, such furniture, fixtures and equipment as from time to time may become wom out or
obsolete, provided that either (a) simultaneously with or prior to such removal, any such furniture,
fixtures or equipment shall be replaced with other fumiture, fixtures or equipment of a value at least equal
to that of the replaced furniture, fixtures or equipment and free from any security interest, chattel lien or
other encumbrance and from any reservation of title, and by such removal and replacement, the
Mortgagor shall be deemed to have subjected such fumiture, fixtures or equipment to the lien of this
Mortgage, or (b) any net cash proceeds received from such disposition shall be paid over promptly to the
Mortgagee to be applied as a prepayment in accordance with the provisions of the obligations hereby
secured,

6. The Mortgagee shall have the right to enter and inspect the Mortgaged Property, and in
the event of failure of the Mortgagor to pay, observe or perform any of the terms, covenants or conditions
herein contained or contained in any lease, grant or other instrument referred to herein and on the part of
the Mortgagor to be observed and performed, including, without limiting the generality of the foregoing,
failure to keep the Mortgaged Property in good condition and repair, or to pay rent, taxes and assessments
before the same become delinquent or any interest or penalty accrues thereon, or to effect insurance and
deliver the policy or policies aforesaid, or in the event there exists or shall arise at any time any claim,
lien or encumbrance on the Mortgaged Property or any part thereof, or in the event any statutory lien shall
exist or arise on the Mortgaged Property or any part thereof, the Mortgagee may, without notice or
demand and without prejudice to any other right herein contained, perform such term, covenant or
condition, including making such repairs as may seem advisable to the Mortgagee, or paying such rent,
taxes and assessments or effecting such insurance or paying such claims, liens, encumbrances or statutory
liens, or make any other advances the Mortgagee in its discretion deems necessary to protect its security,
and any and all sums so advanced shall be immediately due and payable, regardless of the validity of such
costs of repair, taxes, assessments, insurance claims, liens, encumbrances or statutory lien, with interest
thereon at the rate of interest then charged under the Note from the time of such advance.

7. The Mortgagor shall maintain or cause to be maintained comprehensive general public
liability and general property damage insurance naming the Mortgagee as an additional assured covering
all claims for personal injury or death or property damage suffered by others occurring upon, in or about
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any Mortgaged Property or upon, in or about adjoining streets and passageways. All such insurance shalt
be in such amounts and form as may from time to time be required by the Mortgagee and shall contain an
agreement by the insurer that the insurance will not be cancelled or changed without at least ten (10) days
prior written notice to the Mortgagee.

8. The Mortgagor shall keep all improvements now on or hereafter erected upon the
mortgaged real property and all personal property subject hereto and any rentals derived from the
Mortgaged Property insured against hazards of such types and in such amounts and in such forms of
insurance as may be from time to time required by the Mortgagee, and except as may be otherwise
required by the terms of any lease or instrument senior or prior to this Mortgage, the Mortgagor will cause
all policies to be made payable in case of loss to the Mortgagee and will deliver such policies or
certificates thereof issued by the insurers as collateral and further security for the payment of the
indebtedness hereby secured. All such policies of insurance shall (i) be carried in the name of the
Mortgagor (and the lessor under any lease hereby mortgaged, if such lease so provides), (ii) contain a
standard mortgagee clause, and (iii) provide that the proceeds of any one loss shall be payable to the
Mortgagee (unless any lease hereby mortgaged covering the insured property provides otherwise). All
such policies shall also provide that the insurance shall not be invalidated as to the Mortgagee by any act
or neglect of any person owning the property insured, or by any foreclosure or other proceedings, or
notice of sale, or by any change in the title or ownership of the insured properties, or by occupation of any
insured structures for purposes more hazardous than permitted by such policy. All such policies shall to
the extent obtainable be without contribution and shall contain an agreement by the insurer that the policy
shall not be cancelled or changed without at least ten (10) days’ prior written notice to the Mortgagee. If
the Mortgagor defaults in so insuring the Mortgaged Property or any portion thereof or in so delivering
copies of the policies (or certificates therefor), the Mortgagee may, at the option of the Mortgagee, effect
such insurance from year to year and pay the premiums therefor, and the Mortgagor will reimburse the
Mortgagee on demand for any premiums so paid with interest from the time of payment at the rate of
interest then charged under the Note, and the same shall be secured by this Mortgage. The Mortgagee
shall not be responsible for securing such insurance or for the collection of any insurance monies or for
the insolvency of any insurer or insurance underwriter. No lien upon any of such policies of insurance or
upon any refund or return premium which may be payable on the cancellation or termination thereof shall
be given to other than the Mortgagee, except by proper endorsement affixed to such policy and approved
by the Mortgagee.

The Mortgagor shall give immediate written notice of loss or physical damage to the Mortgaged
Property to the Mortgagee and the Mortgagee may make proof of loss if it is not made promptly by the
Mortgagor. Except as may otherwise be provided by law, all insurance proceeds on account of damage or
destruction to any Mortgaged Property and all proceeds of any award payable to the Mortgagor for any
Mortgaged Property taken by eminent domain which are received by the Mortgagee, less the cost, if any,
incurred by the Mortgagee with respect thereto, but excluding proceeds of any renta! value, use and
occupancy or personal property insurance of the Mortgagor, shall be applied by the Mortgagee at its
option to reduce the indebtedness secured hereby or toward the payment of the costs of repaising,
restoring or rebuilding the Mortgaged Property so damaged or destroyed or taken (hereinafter referred to
as the “work”). In the event the proceeds are applied to such work, they shall be paid out from time to
time by the Mortgagee to the Mortgagor as the work progresses, but subject to such reasonable conditions
as may be imposed by the Mortgagee, including but not limited to the following:

(a) In the event the estimated cost of the work shall exceed Fifty Thousand and
00/100 Dollars ($50,000.00), the work shall be in charge of an architect or engineer and before the
Mortgagor commences any work, other than temporary work to protect property or prevent interference
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with business, the Mortgagee shall have approved the plans and specifications for the work, which
approval shall not be unreasonably withbeld or delayed.

(b) Each request for payment shall be made on seven (7) days’ prior written notice to
the Mortgagee and shall be accompanied by a certificate to be made by such architect or engineer, if one
is required under subparagraph (a) of this paragraph, otherwise by the Mortgagor stating (i) that all of the
work completed has been done in compliance with the approved plans and specifications, if any be
required under clause (a), (ii) that the sum requested is justly required to reimburse the Mortgagor for
payments by the Mortgagor to, or is justly due to, the contractor, subcontractors, materialmen, laborers,
engineers, architects or other persons rendering services or materials for the work (giving a brief
description of such services and materials), and that when added to all sums previously paid out by the
Mortgagee does not exceed the value of the work done to the date of such certificate, and (iii) that the
amount of such proceeds remaining in the hands of the Mortgagee will be sufficient on completion of the
work to pay for the same in full (giving in such reasonable detail as the Mortgagee may require an
estimate of the cost of such completion),

{(c) Each request shall be accompanied by a search prepared by a title company or
licensed abstractor or by other evidence satisfactory to the Mortgagee that there had not been filed with
respect to the Mortgaged Property any mechanic's or other lien or instrument for the retention of title in
respect to any part of the work not discharged of record.

(d) There shall be no default on the part of the Mortgagor under this Mortgage or the
Note.

(e) The request for any payment after the work has been completed shall be
accompanied by a copy of any certificate or certificates required by law to render occupancy of the

Mortgaged Property lawful.

If the Mortgagor shall procure any other insurance it shall likewise be made payable to and be
claimed only by the Mortgagee, and if not made so payable, it may be recovered by the Mortgagee and be
similarly applied. In the event of foreclosure or sale of the Mortgaged Property as herein provided, all
interest of the Mortgagor in such insurance shall pass to the purchaser of the insured property.

9. In the event of condemnation of the Mortgaged Property or any part thereof by
paramount authority, whether or not the Mortgagor is in default hereunder at the time, all of any
condemnation award to which the Mortgagor shall be entitled is hereby assigned by the Mortgagor to the
Mortgagee, who is hereby authorized to demand, sue for, collect, receive and receipt for the same, and at
the option of the Mortgagee to apply the net proceeds of same, less costs and expenses, either to reduce
the indebtedness hereby secured or toward the cost of repairing, restoring or rebuilding the Mortgaged
Property. Nothing herein contained shail prevent the Mortgagee from applying at any time the whole or
any part of any proceeds referred to in this paragraph and received by the Mortgagee to the curing of any
default under this Morigage or the Note.

10. In the event any of the Mortgaged Property is subject to an easement or other interest
with respect to which the Mortgagor has specific conditions or obligations to observe or perform, the
Mortgagor shall observe and perform all of such other conditions or obligations and will indemnify the
Mortgagee against all actions, proceedings, costs {including attorneys’ fees), demands and damages
which may be incurred by reason of failure to do so. The Mortgagor further covenants with the
Mortgagee not to amend cancel or terminate any grant of easement or other instrument creating an interest
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subject hereto without the prior written consent of the Mortgagee. The Mortgagor will (a) promptly
notify the Mortgagee in writing of any default by the Mortgagor under such instrument or of the
oceutrence of any event which, with the passage of time, would constitute a default thereunder; and (b) in
case any proceeds of insurance upon the Mortgaged Property or any part thereof or the proceeds of any
award for the taking in eminent domain of the Mortgaged Property or any part thereof are deposited with
any person other than the Mortgagee, promptly notify the Mortgagee in writing of the name and address
of the person with whom such proceeds have been deposited and the amount so deposited.

11. Upon demand of the Mortgagee, the Mortgagor will pay monthly to the Mortgagee, in
addition to payments of principal and interest payable under the Note or other indebtedness secured
hereby, a sum equal to the taxes, assessments, rentals, if any, and insurance premiums next due with
respect to the Mortgaged Property or any interest therein which are required to be paid by the Mortgagor
(all as estimated by the Mortgagee), less all sums already paid therefor, divided, in each case, by the
number of months to the date upon which each such tax, assessment, rental, if any, or insurance premium
will become duc and payable, such payments to satisfy to the extent thereof the obligations hereunder of
the Mortgagor with respect to such payments. Such sums will be held by the Mortgagee, without interest,
to pay such obligations before they become delinquent and the Mortgagee shall have the right to
commingle such fimds with other funds and use such funds for any purpose without liability to the
Mortgagor, even though subsequent owners of the Mortgaged Property may benefit therefrom. If the total
of the payments made by the Mortgagor to the Mortgagee with respect to taxes, assessments, rentals, if
any, and insurance premiums shall be insufficient to pay them in full when due and payable, the
Mortgagor shall pay any amount necessary to make up the deficiency on or before the due date. In the
event of default hereunder, then and in any such event any such reserve funds held by the Mortgagee may
be applied to any part of the indebtedness secured hereby and in refunding any part of the reserve funds
may deal with whomever is then represented as the owner of the Mortgaged Property.

12. Any and all advances made by the Mortgagee to or for the account of the Mortgagor after
the date hereof, together with interest thereon, shall be secured by this Mortgage and all of the covenants
and agreements of this Mortgage shall apply to such advances as well as to all other indebtedness secured
hereby, whether or not at the time such advance or advances are made there shall be then any outstanding
indebtedness owing by the Mortgagor to the Mortgagee, unless a release of this Mortgage shall have been
executed by the Mortgagee prior to the time of such advance or advances.

13. Upon the commencement of any proceedings to collect the indebtedness or
disbursements secured hereby in whole or part, whether by foreclosure of this Mortgage or otherwise and
whether or not such proceedings are subsequently abandoned, there shall become due, and the Mortgagor
agrees to pay in addition to the costs and charges allowed by law, a reasonable sum as and for attorneys’
fees as an additional indebtedness hereunder and which shall be secured hereby. The Mortgagor will also
pay any amount the Mortgagee may incur or pay for any evidence of title subsequent to this date on any
of the property covered hereby and this Mortgage shall secure payment thereof.

14, The Mortgagee or any person in behalf of the Mortgagee may purchase at any foreclosure
sale, and the purchaser shall not be answerable for the application of the purchase money, The Mortgagee
shall have the right to enforce one or more remedies hereunder or any other lawful remedy the Mortgagee
may have, successively or concurrently, without impairing the lien of this Mortgage or the remedies of the
Mortgagee and the Mortgagee is hereby appointed the attorney-in-fact for the Mortgagor for the purpose
of demanding, collecting (by civil action or otherwise), receiving and accepting for rents, issues, income
and profits from the Mortgaged Property, compromising and settling claims for rent on terms it deems
appropriate, entering into, renewing or terminating leases or subleases and transferting title to the
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Mortgaged Property upon foreclosure or sales. The Mortgagee shall have the right and is hereby
expressly authorized to make application of any payments made to it, or any rents, income and profits
collected by it upon any indebtedness of the Mortgagor to the Mortgagee as provided herein regardless of
the date thereof. The Mortgagee’s acceptance of any payment shall not be deemed a waiver of any
default of the Mortgagor then existing, except to the extent cured by such payment, nor as a waiver of any
right to declare all indebtedness secured hereby at once due and payable because of any default then
existing and not cured by such payment.

15. In the event of a sale of the Mortgaged Property or any part or parts thereof by virtue of
this Mortgage, the purchaser or purchasers shall have immediate and peaceable possession, and if the
Mortgagor remains in possession after the effective date of such sale, such possession shall be construed
as a trespass giving unto the purchaser all remedies conferred by law in such case.

16. Hf, without the prior written consent of the Martgagee (which consent may be withheld in the
sole discretion of Mortgagee) any of the property subject to this Mortgage shall be sold, conveyed, assigned,
encumbered, leased or transferred, including any transfer by way of agreement of sale or as security, by the
Mortgagor to any other party, other than by will or intestate succession, then and in any such event all of the
indebtedness hereby secured shall at once become due and payable at the option of the Mortgagee (any
provision or term thereof to the contrary notwithstanding), and delay or failure on the part of the Mortgagee
to demand such payment shall be without prejudice to the Mortgagee’s rights hereunder. If the Mortgagor
holding title to all or any part of the Mortgaged Property (or any of them if there be more than one) shall be a
corporation, any sale, assignment, transfer (other than by will or intestate succession) or exchange of any of
the shares of the capital or common stock of the Mortgagor, or any issuance of any new shares of stock of
any class of such Mortgagor, or any merger or consolidation of such Mortgagor with or into any other
corporation by which the shareholders of such Mortgagor immediately prior to such event (or their heirs or
legatees) shall fail to own and contro! one hundred percent (100%) of the voting stock of such Mortgagor
shall be deemed a conveyance or assignment of the Mortgagor’s interest in the Mortgaged Property for
purposes of this paragraph and shall require the prior written consent of the Mortgagee. The provisions of
this paragraph shall constitute a continuing covenant or condition and any failure on the part of the
Mortgagee to exercise its option to declare all indebtedness due and payable on the occurrence of any one
event hereinabove mentioned shall not prejudice the right of the Mortgagee to declare the indebtedness
hereby secured at once due and payable on the occurrence of any other event hereinabove mentioned.

17, In the event the ownership of any interest in the Mortgaged Property in whole or part
becomes vested in a person other than the Mortgagor, the Mortgagee may, without notice to the
Mortgagor or any intervening successor, deal with a successor or successors in interest with reference to
this Mortgage and the debt hereby secured in the same manner as with the Mortgagor without discharging
or in any way affecting the liability of the Mortgagor or any successor or successors in interest hereunder
or upon any indebtedness hereby secured, and the Mortgagor (and each of them if there be more than one)
and any successor in interest to the whole or any part of the Mortgaged Property, hereby waive diligence,
presentment, demand and notice of dishonor and consent to extensions of time, surrender or substitution
of security, failure to apply deposit or other forbearance, without notice, with respect to any indebtedness
hereby secured, such waiver or consent to be effective regardless of whether or not be, she, it or they is or
are at such Gime the owner or owners of the Mortgaged Property.

18. The Martgagor, upon request, shall certify in a writing duly acknowledged to the
Mortgages or to any proposed assignee of this Mortgage, the amount of principal and interest then owing
on this Mortgage and whether any offsets or defenses exist against the mortgage debt, within five (5) days
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in case the request is made personally, or within ten (10) days after the mailing of such request in case the
request is made by mail.

19. Every requirement hereunder for the giving of notice, demand or request shall be deemed
fulfilled when written notice, demand or request is personally served on one or more of the persons who
shall at the time hold the record title to the Mortgaged Property, or on their heirs or successors, or is
mailed by depositing it in any post office station or letter box, enclosed in a postpaid envelope addressed
to such person or persons, or their heirs or successors, at his, their or its address last known to the
Mortgagee.

20. The Mortgagor will within five (5) days after written request from the Mortgagee execute
alone or with the Mortgagee, and deliver, file and/or record any financing statements, mortgages or other
instruments, and do such further acts as the Mortgagee may request to carry out more effectively the
purpose of this Mortgage and to establish and maintain the lien hereof and the perfection of the security
interests of the Mortgagee in the Mortgaged Property, including all renewals, additions, substitutions and
improvements, and to protect the same against rights and interests of third parties. The Mortgagor will
pay all expenses, including reasonable attorneys’ fees, incurred by the Mortgagee, whether in litigation or
otherwise, to sustain the lien or priority of this Mortgage, or to protect or enforce any of the Mortgagee’s
rights hereunder, or for any title insurance policy covering the Mortgaged Property, all such sums to be
paid on demand, together with interest thereon at the rate of interest then charged under the Note from the
date of demand, all of which shall be secured hereby.

21. In the event of the existence at the date of this instrument or the adoption hereafter of any
law of the United States of America or the State of Hawaii, or of any other taxing jurisdiction, which in
any way shall impose a tax on mortgages or debts secured by mortgages to the end that directly or
indirectly the Mortgagee shall be required to pay on account of this Mortgage, the Note or any other
indebtedness secured hereby, a tax other than a tax on, according to, or measured by net income, or any
existing franchise tax applicable to the Mortgagee, the Mortgagee may give at any time written notice to
the Mortgagor that the Mortgagee elects to have the indebtedness secured by this Mortgage become due
and payable six (6) months from the giving of such notice (if the indebtedness is not sooner due and
payable) unless the Mortgagor, within the six-month period, shall agree in writing to pay the amount of
such taxes. If the Mortgagor so agrees to pay the amount of such taxes, such agreement shall be deemed
to be a covenant and obligation of the Mortgagor under this Mortgage for all purposes. If the Mortgagor
fails to so agree, the indebtedness secured by this Mortgage shall become due and payable upon the last
day of the six-month period. If at any time the Mortgagor’s agreement to pay the amount of such taxes
shall be prohibited by law or the payment of such taxes by the Mortgagor would make the transaction
usurious, then the indebtedness secured hereby shall become due and payable six (6) months after the
giving of written notice (if the indebtedness is not sooner due and payable) by the holder of this Mortgage
and the Note secured hereby that it elects to have the indebtedness secured hereby become due and

payable.

22. With respect to any grant of easement or other instrument referred to herein and under
which the Mortgagor has an estate or interest which is less than fee simple or absolute, the term
“Mortgaged Property” and similar terms shall include such grant of easement or other instrument, and all
the estate, right, title and interest of the Mortgagor in and to the property covered thereby and in and to all
tenements, hereditaments, rights, easements, privileges and appurtenances belonging or in anywise
appertaining to such property, and in and to all buildings, structures, fixtures and other improvements
now on or which may hereafter be on such property. The terms “advances”, “costs” and “expenses”,
whenever herein used, shall include reasonable attorneys’ fees and recording fees whenever incurred.

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The term “indebtedness” and similar terms as used herein shall mean and include all notes, loans,
advances, interest, claims, demands, obligations and liabilities whatsoever, however arising, and whether
owing by the Mortgagor (or any of them if there be mote than one) individually or jointly with others, and
whether absolute or contingent, liquidated or unliquidated and whenever contracted, accrued or payable.
If there is more than one Mortgagor, all obligations hereunder shall be binding upon them jointly and
severally. If the Mortgagor is married, the execution hereof by the spouse shall bind the spouse
individually and constitute a quitclaim and release to the Mortgagee of all interest of the spouse in the
Mortgaged Property by way of dower, elective share, curtesy, community property or otherwise. These
presents shall be equally binding upon and inure to the benefit of the heirs, executors, administrators,
successors and assigns of the Mortgagor and the Mortgagee, respectively, and shall be construed so that
the use of the singular number shall include the plural number, the use of the plural number shall include
the singular number, and the use of a pronoun of any gender shall include either or both of the other
genders,

23. This Mortgage is governed by and shall be construed in accordance with the laws of the
State of Hawaii. In the event that any interest rate set herein or in the Note or in any other instrument of
indebtedness hereby secured, or applicable to any other indebtedness hereby secured, together with any
late charge, fees or other charges applicable thereto, shall be in excess of the permissible rate under any
applicable usury statute or similar law governing maximum rates of interest, fees or charges, then such
rate of interest and/or late charges, fees or other charges shall be reduced to the maximum permitted by
law, anything herein or in the Note or other instrument to the contrary notwithstanding.

24, | THIS MORTGAGE CONSTITUTES AND THE MORTGAGOR ACKNOWLEDGES
THAT IT HAS RECEIVED WRITTEN NOTICE THAT THE MORTGAGOR MAY PURCHASE ANY
REQUIRED INSURANCE FROM AN INSURER OR AGENT OF THE MORTGAGOR’S CHOICE,
SUBJECT ONLY TO THE MORTGAGEE'S RIGHT TO REJECT A GIVEN INSURER OR AGENT
BASED ON REASONABLE STANDARDS, UNIFORMLY APPLIED, RELATING TO THE EXTENT
OF COVERAGE REQUIRED AND THE FINANCIAL SOUNDNESS AND SERVICES OF THE
INSURER OR AGENT.

24, The Mortgagee agrees that whenever its consent or approval is required under the terms
and conditions of this Mortgage, it will not withhold such consent or approval arbitrarily or unreasonably,
and it will not charge any money for the granting thereof other than a reasonable fee for the processing of
same, including but not limited to a reasonable attorney’s fee.

IN WITNESS WHEREOF, the parties have caused this instrument to be duly executed this 14"
day of February, 2012.

Signature pages follow; the remainder of this page is intentionally left blank.

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GLENN RUDOLFSKY ee
KIM RUDOLFSKY Yo
Mortgagor
STATE OF NEW YORK )
SS:

COUNTY OF MN) A$ $10

On February | 3, 1 | 2012, before me, Howavt k, P| Lu A Notary Public,
personally appeared GLENN RUDOLFSKY and KIM RUDOLFSKY, who proved to me on the
basis of satisfactory evidence to be the persons whose names are subscribed to the within
instrument, which document consists of seventeen (17) pages, and acknowledged to me that they
executed the same in their authorized capacity, and that by their signature on the instrument the
persons, or the entity upon behalf of which the persons acted, executed the instrument.

I certify under PENALTY OR PERJURY under the laws of the State of New
York that the foregoing paragraph is true and correct.

WITNESS my hand and official seal.

 

Notary Public, HOWARD K. POLLACK
State of New York. NOTA ja vines. New York

alified in County of Nassau
mmission Expires

My commission expires:_>_ Johny

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ERIC R. SAMBOLD, Trustee

Mortgagee

STATE OF CALIFORNIA )

)
COUNTY oF ah O¢ ego _)

On February /5 , 2012, before me, \/iso nica 6- Rodi gut , Notary Public,
personally appeared ERIC R. SAMBOLD, who proved to me on the basis of satisfactory

evidence to be the person whose name is subscribed to the within instrument, which document
consists of seventeen (17) pages, and acknowledged to me that he executed the same in his
authorized capacity, and that by his signature on the instrument the person, or the entity upon
behalf of which the person acted, executed the instrument.

SS:

I certify under PENALTY OR PERJURY under the laws of the State of
California that the foregoing paragraph is true and correct.

WITNESS my hand and official seal.

 

Commission # 1648841

State of California.

VERONICA G. RODRIGUEZ Notary Public, f

 

My commission expires: Ma y [%, Z0{2

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Case 2:14-cv-00879-RFB-NJK Document 48 Filed 10/19/15 Page 28 of 45

FIRST:

Apartment Unit No. B of that certain Condominium Project known as “MAUKA

LANT’, as shown on Condominium Map No. 1531, and described in the Declaration of
Condominium Property Regime dated July 5, 1991, recorded July 23, 1991 in the Bureau of
Conveyances, State of Hawaii, as Document No. 91-098349, as the same may be amended.

TOGETHER WITH all structures located on the limited common element of said unit,
easements appurtenant to said apartment established by and described in the Declaration,
including the following:

Non-exclusive easements in the common elements designed for such purposes for
ingress to, egress from, utility services for and support, maintenance and repair of said
apartment, in the other common elements for use according to their respective purposes,
subject always to the exclusive use of the limited common elements as provided in the
Declaration, and in all other apartments and limited common elements of the Project for

support.
SECOND:

An undivided twenty percent (20%) interest in all common elements of the

project and in the land upon which said project is located as established for said apartment by
the Declaration, or such other percentage interest as hereinafter established for said apartment
by any amendment of the Declaration as tenant in common with the other owners and tenants
thereof.

Being all the property described in the following:

Doc A-44720040
APARTMENT DEED March 30, 2012 8:01 AM
Recorded : February ___, 2012, in the Bureau of Conveyances, State of Hawaii,
as Document No.: 2012 --
Grantor : HOWARD €. SAMUELS, a married man as his sole and separate
property
Grantee : GLENN RUDOLFSKY and KIM RUDOLFSKY, husband and wife

SUBJECT, HOWEVER, to the following:

1, Title to atl minerals, and metallic mines reserved to the State of Hawaii.

2. A 150-foot building setback and drainage way as shown on File Plan No. 1934,
3. A 15-foot building setback and drainage way as shown on File Plan No. 1934.
4. Easement "E-7" (area 44 square feet)

For : Electrical purposes
As shown on File Plan No. 1934
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5. AGREEMENT

Executed By: STATE OF HAWAII
and Between; C. BREWER AND COMPANY, LIMITED

On the terms, covenants and conditions contained therein,

Dated: March 16, 1977
Recorded: in the Bureau of Conveyances, State of Hawaii, in Book 12110,
Page 330
Re: Use of the land described herein, besides other land, for
agricultural purposes
6. Covenants, Conditions and Restrictions, but omitting any covenants or restrictions if any,

based upon race, color, religion, sex, handicap, familial status, or national origin unless
and only to the extent that said covenant (a) is exempt under Title 42, Section 3607 of the
United States Code or (b) relates to handicap but does not discriminate against
handicapped persons, as provided in an instrument.

Entitled: DECLARATION

Dated: October 3, 1988

Recorded: in the Bureau of Conveyances, State of Hawaii, in Book 22452, Page
429

Said Declaration was amended by the following instruments:

DATED:
July 5, 199 90-104733
March 29, 1999 99-196189

7. Unrecorded KALIHIWAI RIDGE ENVIRONMENTAL DESIGN RULES AND
GUIDELINES PURSUANT TO DECLARATION OF PROTECTIVE COVENANTS,
CONDITIONS AND RESTRICTIONS FOR KALIHIWAI RIDGE dated October 12,
1988,

8. AGREEMENT TO INCORPORATE AGRICULTURAL RESTRICTIONS INTO
INSTRUMENTS OF CONVEYANCE

Executed By: C. BREWER PROPERTIES, INC., a Hawaii corporation
and Between: COUNTY OF KAUAI PLANNING DEPARTMENT

On the tenns, covenants and conditions contained therein,

Dated: September 30, 1988
Recorded: in the Bureau of Conveyances, State of Hawaii, in Book 22452,
Page 491
9. Covenants, conditions, restrictions, reservations, agreements, obligations, easements and

other provisions set forth in DEED dated November }, 1988, recorded in the Bureau of
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10,

11.

12.

13.

Conveyances, State of Hawaii, in Book 22555, Page 521, but deleting any covenant,
condition or restriction indicating a preference, limitation or discrimination based an
race, color, religion, sex, handicap, familial status, or natural origin to the extent such
covenants, conditions or restrictions violate 42 USC 3604(c) or Section 515-6, HRS.

Agreement for: FARM DWELLING

Executed By: STEVEN T. ROUSH, MARY GAY ROUSH, MICHAEL E.
MAYS, MEREDITH S. MURPHY, HOLT H. BLANCHARD,
and EARL L. SIMPSON, “Applicants”

and Between: COUNTY OF KAUAI Planning Department, "Department"

On the terms, covenants and conditions contained therein,

Dated: April 3, 1990

Recorded: in the Bureau of Conveyances, State of Hawaii, as Document
No. 90-069221 (re-recorded as Document Nos. 90-070741 and
91-144797)

An easement affecting that portion of said land and for the pusposes stated herein and
incidental purposes as provided in the following:

Instrument: GRANT
Granted To: CITIZENS UTILITIES COMPANY
For: A perpetual nonexclusive easement to build, construct,

reconstruct, rebuild, repair, maintain and operate electrical
transformers and underground lines, etc., for the transmission
and distribution of electricity, etc.

Dated: July 5, 1990

Recorded: in the Bureau of Conveyances, State of Hawaii, as Document
No. 90-151401

Condominium Map No. 1531, filed in the Bureau of Conveyances, State of Hawaii.

Matters in an instrument that, among other things, contain or provide for easements,
assessments, liens and their subordination; provisions relating to partition, restrictions on
severability of component interest, covenants, conditions and restrictions, provision that
no violation thereof and no enforcement of any lien provided for therein shall defeat or
render invalid the lien of a mortgage or deed of trust made in good faith and for value,
but omitting any covenants or restrictions if any, based upon race color, religion, sex,
handicap, familial status, or national origin unless and only to the extent that said
covenant (a) is exempt under Title 42, Section 3607 of the United States Code or (b)
relates to handicap but does not discriminate against handicapped persons.

Entitled: Declaration of Condominium Property Regime
Recorded: July 23, 1991 in the Bureau of Conveyances, State of Hawaii, as
Document No. 9t-098349

Said Declaration was amended by the following instruments:

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14,

15.

16.

17.

DATED: D: D

October 31, 1997 November 4, 1997 97-150831
February 6, 2004 March 3, 2004 2004-044005
July 5, 2005 July 11, 2005 2005-136397

Liens and charges for upkeep and maintenance as provided in the above mentioned
Covenants, Conditions and Restrictions, if any, where no notice thereof appears on
record.

By-Laws of the Association of Apartment Owners of MAUKA LANI, recorded July 23,
1991 in the Bureau of Conveyances, State of Hawaii, as Document No. 91-098350.

An easement affecting that portion of said land and for the purposes stated herein and
incidental purposes as provided in the following

Instrument : GRANT
Granted To : CITIZENS UTILITIES COMPANY
For: A perpetual right and easement to build, construct, reconstruct,

rebuild, repair, maintain and operate pole and wire lines and/or
underground tines, etc. for the transmission and distribution of

electricity, otc.
Dated : December 21, 1990
Recorded : March 11, 1992 in the Bureau of Conveyances, State of Hawaii,

as Document No, 92-035491

Covenants, conditions, restrictions, reservations, agreements, obligations, easements and
other provisions set forth in Apartment Deed dated October 28, 1991, recorded
November 5, 1991 in the Bureau of Conveyances, State of Hawaii, as Document No. 91-
151949, but deleting any covenant, condition or restriction indicating a preference,
limitation or discrimination based on race, color, religion, sex, handicap, familial status,
or natural origin to the extent such covenants, conditions or restrictions violate 42 USC
3604(c) or Section 515-6, HRS.

Any and all easements encumbering the apartment herein mentioned, and/or the common
interest appurtenant thereto, as created by or mentioned in said Declaration, as said

Declaration may be amended from time to time in accordance with the law and/or in the
Apartment Deed, and/or as delineated on said Condominium Map.

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EXHIBIT 2

EXHIBIT 2
Case 2:14-cv-00879-RFB-NJK Document 48 Filed 10/19/15 Page 33 of 45

PROMISSORY NOTE

$550,000.00 Kapaa, Kauai, Hawaii
, 2012

 

February
Uarerh Ao
FOR VALUE RECEIVED, GLENN RUDOLFSKY and KIM RUDOLFSKY, as
maker, having a mailing address of 2825 Shore Drive, Merrick, New York 11566 (the
“Borrower”), hereby unconditionally promise to pay to the order of ERIC R.
SAMBOLD, Trustee of the Eric R. Sambold Trust dated September 1, 2002, having a
mailing address of 8322 Miramar Mall Road, San Diego, California 92121 (the
“Lender”), or at such other place as the holder hereof may from time to time designate in
writing, the principal sum of FIVE HUNDRED FIFTY THOUSAND AND 00/100
DOLLARS ($550,000.00), in lawful money of the United States of America with interest
thereon to be computed from the date of this Note at the Interest Rate (defined below) in
accordance with the terms of this Note.

ARTICLE I
PAYMENT TERMS

Borrower agrees to pay the entirety of the principal sum and all accrued interest on
the six (6) month anniversary of the date of this Note, i.e., , 2012 (the
“Maturity Date”). amber Bo

The interest rate on this Note shall be six percent (6%) per annum. Interest on the
principal sum of this Note shall be calculated by multiplying (a) the actual number of
days elapsed in the period for which the calculation is being made by (b) a daily rate
based on a three hundred sixty (360) day year (that is, the Interest Rate or the Default
’ Rate, as then applicable, divided by 360) by (c) the outstanding principal balance.

ARTICLE II
DEFAULT AND ACCELERATION

Borrower covenants and agrees that if (a) any payment required hereunder (other
than the payment due on the Maturity Date) is not paid prior to the thirtieth (30%) day
after the same is due, or (b) the entire Debt (defined below) is not paid on or before the
Maturity Date, or (c) any other Event of Default (as defined in the Mortgage (defined
below)) shall occur, then at the option of Lender (i) the whole of the principal sum of this
Note, (ii) interest, default interest, late charges and other sums, as provided in this Note
and the Mortgage, (iii) all other monies agreed or provided to be paid by Borrower in this
Note and the Mortgage, (iv) all sums advanced pursuant to the Mortgage to protect and
preserve the Property (defined below) and the lien and the security interest created
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thereby, and (v) all sums advanced and costs and expenses incurred by Lender in
connection with the Debt or any part thereof or the acquisition or perfection of the
security therefor, whether made or incurred at the request of Borrower or Lender (all the
sums referred to in (i) through (v) above shall collectively be referred to as the “Debt”)
shall without notice become immediately due and payable. Whenever any payment to be
made under this Note or the Mortgage shall be stated to be due on a day which is not a
Business Day (hereinafter defined), the due date thereof shall be the Business Day
immediately following such day. For purposes hereof, the term “Business Day” shall
mean any day other than a Saturday, Sunday or any other day on which banks in
Honolulu, Hawaii are not open for business.

ARTICLE II
DEFAULT INTEREST

Borrower agrees that upon the occurrence of an Event of Default, Lender shall be
entitled to receive and Borrower shall pay interest on the entire unpaid principal sum at a
per annum rate equal to six percent (6%)(the “Default Rate”). The Default Rate shall be
computed from the occurrence of the default giving rise to such Event of Default (without
regard to any notice or grace period) until the earlier of the date upon which the Event of
Default is cured or the date upon which the Debt is paid in full. Interest calculated at the
Default Rate shall be deemed part of the Debt and shall be deemed secured by the
Mortgage. This clause, however, shall not be construed as an agreement or privilege to
extend the date of the payment of the Debt, nor as a waiver of any other right or remedy
accruing to Lender by reason of the occurrence of any Event of Default.

ARTICLE IV .
LATE CHARGE

If any monthly installment payable under this Note is not paid prior to the fifth
(5th) day after the applicable Payment Date, Borrower shall pay to Lender upon demand
an amount equal to TWO HUNDRED AND 00/100 DOLLARS ($200.00) to defray the
expenses incurred by Lender in handling and processing the delinquent payment and to
compensate Lender for the loss of the use of the delinquent payment and the amount shall
be secured by the Mortgage.

ARTICLE V
PREPAYMENT

The principal balance of this Note may be prepaid in whole or in part without
notice and without penalty, In such event, any prepayment shall be applied first to fees
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and charges, if any, then interest accrued up to the date of prepayment and the remainder
shall be applied to principal.

ARTICLE VI
SECURITY

This Note is secured by that certain Mortgage dated the date hereof in the principal
sum of FIVE HUNDRED THOUSAND AND 00/100 DOLLARS ($550,000.00), given
by Borrower to (or for the benefit of) Lender covering the real property of Borrower in
certain premises located at 4781 B Kahiliholo Road, Kilauea, Kauai, Hawaii 96754, also
known by its Tax Map Key Number (4) 5-2-017-024:0002, as more particularly described
therein (the “Mortgaged Property”) and intended to be duly recorded in the Bureau of
Conveyances of the State of Hawaii (the “Mortgage”).

ARTICLE VII ;
LOAN CHARGES

This Note and the Mortgage are subject to the express condition that at no time
shall Borrower be obligated or required to pay interest on the principal balance due
hereunder at a rate which could subject Lender to either civil or criminal liability as a
result of being in excess of the maximum interest rate which Borrower is permitted by
applicable law to contract or agree to pay.

ARTICLE VII
WAIVERS

Borrower and all others who may become liable for the payment of all or any part
of the Debt do hereby severally waive presentment and demand for payment, notice of
dishonor, protest and notice of protest and non-payment and all other notices of any kind,
except for notices expressly provided for in this Note or the Mortgage. No release of any
security for the Debt or extension of time for payment of this Note or any installment
hereof, and no alteration, amendment or waiver of any provision of this Note or the
Mortgage made by agreement between Lender or any other person or party shall release,
modify, amend, waive, extend, change, discharge, terminate or affect the liability of
Borrower, and any other person or entity who may become liable for the payment of all
or any part of the Debt, under this Note or the Mortgage. No notice to or demand on
Borrower shall be deemed to be a waiver of the obligation of Borrower or of the right of
Lender to take further action without further notice or demand as provided for in this
Note or the Mortgage.
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ARTICLE Ix
WAIVER OF TRIAL BY JURY

BORROWER HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY LAW, THE RIGHT TO TRIAL BY JURY IN ANY ACTION,
PROCEEDING OR COUNTERCLAIM, WHETHER IN CONTRACT, TORT OR
OTHERWISE, RELATING DIRECTLY OR INDIRECTLY TO THE LOAN
EVIDENCED BY THIS NOTE, THE APPLICATION FOR THE LOAN
EVIDENCED BY THIS NOTE, THIS NOTE, OR THE MORTGAGE OR ANY
ACTS OR OMISSIONS OF LENDER OR LENDER’S AGENTS IN
CONNECTION THEREWITH.

ARTICLE X
AUTHORITY

Borrower represents that Borrower has full power, authority and legal right to
execute and deliver this Note and the Mortgage and that this Note and the Mortgage
constitute valid and binding obligations of Borrower.

ARTICLE XI
GOVERNING LAW

This Note shall be governed, construed, applied and enforced in accordance with
the laws of the State of Hawaii.

ARTICLE XII
NOTICES

All notices required or permitted hereunder shall be given as provided in the
Mortgage.

ARTICLE XH
INCORPORATION BY REFERENCE

All of the terms, covenants and conditions contained in the Mortgage are hereby
made part of this Note to the same extent and with the same force as if they were fully set
forth herein.
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ARTICLE XIV
MISCELLANEOUS

(a) Wherever pursuant to this Note it is provided that Borrower pay any
costs and expenses, such costs and expenses shall include, but not be limited to,
reasonable legal fees and disbursements of Lender. Borrower shall pay to Lender on
demand any and all expenses, including legal expenses and reasonable attorneys’
fees, incurred or paid by Lender in enforcing this Note, whether or not any legal
proceeding is commenced hereunder, together with interest thereon at the Default
Rate from the date paid or incurred by Lender until such expenses are paid by
Borrower.

(b) This Note may not be modified, amended, waived, extended, changed,
discharged or terminated orally or by any act or failure to act on the part of
Borrower or Lender, but only by an agreement in writing signed by the party against
whom enforcement of any modification, amendment, waiver, extension, change,
discharge or termination is sought.

(c) If Borrower consists of more than one person or party, the obligations
and liabilities of each person or party shall be joint and several.

(d) Whenever used, the singular number shall include the plural, the plural
number shall include the singular, and the words “Lender” and “Borrower” shall
include their respective successors, assigns, heirs, executors and administrators.

IN WITNESS WHEREOF, Borrower has duly executed this Note as of the
day and year first above written.

  

oe
GLENN RUDOLFSKY
Een Neaulet k ida ob

KIM RUDOLFSKY |
him Deo ITO Redo esky
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EXHIBIT 3

EXHIBIT 3
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STATE OF HAWAII
BUREAU OF CONVEYANCES
RECORDED

OR PRue March 30, 2012 8:01 AM
ie a) Doc No(s) A-44720040

   
 
 

  
     

   

 

 

 

 

 

 

Searee
‘st NICKI ANN THOMPSON
REGISTRAR
4 1/2 nhtk Canveyance Tax: $4100.00
B-32037313
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Tax Map Key No.: 4/ 5-2-017-024, CPR 0002

WARRANTY APARTMENT DEED
(Subject to “As Is” Condition)

THIS WARRANTY APARTMENT DEED (Subject to “As Is” Condition) is dated

hw AD

. HOWARD C. SAMUELS, a married man, of £05 Arigeles ,

( elt fo 2 14_, hereinafter called the "Grantor", in consideration of the sum of Ten Dollars ($10.00)
and other good and valuable consideration to the Grantor paid by GLENN RUDOLFSKY and KIM

DAPOLITO RUDOLFSKY, husband and wife, whose address is 2825 Shore Drive, Merrick, New
York 11566, hereinafter called the "Grantee", the receipt of which is acknowledged, grants and conveys

unto the Grantee, as tenants by the entirety, their assigns, and the survivor of the Grantee and his

or her heirs, devisees, personal representatives, and assigns, the property described in the attached

Exhibit "A", hereinafter called the "property".

AND the reversions, remainders, rents, issués and profits and all of the estate, right, title and

interest of the Grantor, both at law and in equity, in and to the property.

TO HAVE AND TO HOLD the property, including the improvements thereon, and all rights,
easements, privileges and appurtenances belonging or appertaining to or held and enjoyed with the

property, unto the Grantee according to the tenancy set forth herein, forever.
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Grantee acknowledges that the property described in said Exhibit "A" is being conveyed "AS IS"

with the knowledge of the conditions disclosed by Grantor and/or discovered during inspection(s) of

said property. Grantee understands and agrees that all land and improvernents (including but not limited

to the roof, walls, foundations, soils, plumbing, electrical and mechanical systems, etc.), real property,
and personal property (if any) are being conveyed in their existing "AS IS” CONDITION WITHOUT
WARRANTY OR REPRESENTATIONS, EXPRESSED OR IMPLIED. Grantee hereby accepts said

property in its "AS IS" condition.

The Grantor covenants with the Grantee that the Grantor is lawfully seised in fee simple of the
property and has good right to sell and convey the property; that the property is free and clear of all
encumbrances except as set forth herein and except for the lien of real property taxes not yet required by

law to be paid; and that the Grantor will warrant and defend the property unto the Grantee against the

iawful claims and demands of all persons, except as aforesaid.

The Grantee does hereby covenant and agree, for the benefit of the owners from time to time of
all other apartments in the condominium property regime described in Exhibit “A”, to observe and
perform at all times all terms, covenants, conditions and restrictions set forth in the Declaration and
Bylaws referred to in Exhibit “A”, as the same may from time to time be amended, on the Grantee’s part
to be observed and performed, and when required to do so to indemnify and hold and save harmless the

Grantor from any failure so to observe and perform any of such terms, covenants, conditions and
restrictions.

This instrument and the covenants of the Grantor shall be binding upon the Grantor and inure to
The terms "Grantor" and "Grantee" as and when used herein, or any

an and include the singular or plural number, individuals,

the benefit of the Grantee.

pronouns used in place thereof, shall me

partnerships, trustees and corporations, and each of their respective heirs, personal representatives,

successors in interest and assigns. All covenants and obligations undertaken by two or more persons

shall be deemed to be joint and several.

THE PARTIES agree that this instrument may be executed in counterparts, each of which shall

be deemed an original, and said counterparts shall together constitute one and the same agreement,

binding all parties. For all purposes, including, without limitation, recordation, filing and delivery of

this instrument, duplicate unexecuted and acknowledged pages of the counterparts may be discarded and

the remaining pages assembled as one document.
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IN WITNESS WHEREOF, the Grantor and Grantee have executed this instrument.

NOR aude

HOWARD C. SAMUELS

Grantor
Catiloeolt
State of Hawaii )
County of Kauai 404 gndetet =) SS.
On _teloruary a gOle , before me personally appeared HOWARD C. SAMUELS, to

 

me personally known, did say that such person(s) executed the foregoing instrument as the free act and
deed of such person(s), and if applicable, in the capacities shown, having been duly authorized to
execute such instrument in such capacities. By my signature below, I further certify that the above-
named executed this page document entitled Warranty Apartment Deed (subject to “As Is”
condition) dated in the Fifth Circuit of the State of Hawaii and that this

acknowledgement is deemed to include my Notary Certification.

 

Mel Uivameto
Type or print name:
acnannatet Notary Public, State of Hawaii Cali foraia_
Commission # 1946662 My commission expires: Avaust ¥, 21S
Notary Public - California
| Los Angeles County f
My Comm. Expires Aug 4, 2015
Case 2:14-cv-00879-RFB-NJK Document 48 Filed 10/19/15 Page 42 of 45

 

Grantee

State of New York )
County of _ WZss2d ) SS.

On Lebruacy 6 AD/2 , before me personally appeared GLENN RUDOLFSKY, to me
personally known, did say that such person(s) executed the foregoing instrument as the free act and deed

of such person(s), and if applicable, in the capacities shown, having been duly authorized to execute
such instrument in such capacities.

    

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Notary Public, State of New York
My commission expires: /2 SITY

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State of New York ) Commission Ex] © 2 December 31,
cme ) Ss. y

On feh Chats 6, AO/2 , before me personally appeared KIM DAPOLITO
RUDOLFSKY, té me personally known, did say that such person(s) executed the foregoing instrument

as the free act and deed of such person(s), and if applicable, in the capacities shown, having been duly
authorized to execute such instrument in such capacities.

 
 
   

 

or print name: Gydnw Verney be tor

tary Public, State of New York

My commission expires: 2/7//y
SANDRA TANNENBAUM

Notary Public, State Of New York

No. 01TA4708921 :

Qualified '» Nassau Mounty

Commission Ex; » 3 December 31,207 ¥
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Exhibit “A”

FIRST:

Apartment Unit No. B of that certain Condominium Project known as “MAUKA LANT”, as shown on
Condominium Map No. 1531, and described in the Declaration of Condominium Property Regime dated
July 5, 1991, recorded July 23, 1991 in the Bureau of Conveyances, State of Hawaii, as Document No.

91-098349, as the same may be amended.

TOGETHER WITH all structures located on the limited common element of said unit, easements
appurtenant to said apartment established by and described in the Declaration, including the following:

Non-exclusive easements in the common elements designed for such purposes for ingress to, egress
from, utility services for and support, maintenance and repair of said apartment, in the other common
elements for use according to their respective purposes, subject always to the exclusive use of the
limited common elements as provided in the Declaration, and in all other apartments and limited

common elements. of the Project for support.

SECOND:

An undivided twenty percent (20%) interest in all common elements of the project and in the land upon
which said project is located as established for said apartment by the Declaration, or such other
percentage interest as hereinafter established for said apartment by any amendment of the Declaration as
tenant in common with the other owners and tenants thercof.

Being all the property described in APARTMENT DEED recorded February 1, 2006 in the Bureau of
Conveyances, State of Hawaii, as Document No. 2006-021174, to HOWARD C, SAMUELS, a married

man as his sole and separate property.

THE LAND UPON WHICH SAID CONDOMINIUM IS LOCATED IS DESCRIBED AS FOLLOWS:

All that certain parcel of land situate at Kalihiwai, Hanalei, Island and County of Kauai, State of Hawaii,
described as follows:

Lot 24, area 25.451 acres, more or less, as delineated on the map entitled “KALIHIWAI RIDGE
SUBDIVISION", which said map was filed in the Bureau of Conveyances of the State of Hawaii as File

Plan No. 1934.

Subject to the following:

1. Title to all minerals, and metallic mines reserved to the State of Hawaii.
2. A 150-foot building setback and drainage way as shown on File Plan No. 1934.
3. A 15-foot building setback and drainage way as shown on File Plan No. 1934.

4, Easement "E-7" (area 44 square feet), for electrical purposes, as shown on File Plan No. 1934.
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AGREEMENT executed by STATE OF HAWAII, and between C. BREWER AND
COMPANY, LIMITED, on the terms, covenants and conditions contained therein, dated March
16, 1977, recorded in the Bureau of Conveyances, State of Hawaii, in Book 12110, Page 330,
regarding use of the land described herein, besides other land, for agricultural purposes.

Covenants, Conditions and Restrictions, but omitting any covenants or restrictions if any, based
upon race, color, religion, sex, handicap, familial status, or national origin unless and only to the
extent that said covenant (a) is exempt under Title 42, Section 3607 of the United States Code or
(b) relates to handicap but does not discriminate against handicapped persons, as provided in
DECLARATION dated October 3, 1988, recorded in the Bureau of Conveyances, State of

Hawaii, in Book 22452, Page 429, as amended.

Unrecorded KALIHIWAI RIDGE ENVIRONMENTAL DESIGN RULES AND GUIDELINES
PURSUANT TO DECLARATION OF PROTECTIVE COVENANTS, CONDITIONS AND
RESTRICTIONS FOR KALIHIWAJ RIDGE dated October 12, 1988.

AGREEMENT TO INCORPORATE AGRICULTURAL RESTRICTIONS INTO
INSTRUMENTS OF CONVEYANCE, executed by C. BREWER PROPERTIES, INC., a
Hawaii corporation, and between COUNTY OF KAUAI PLANNING DEPARTMENT, on the
terms, covenants and conditions contained therein, dated September 30, 1988, recorded in the
Bureau of Conveyances, State of Hawaii, in Book 22452, Page 491.

Covenants, conditions, restrictions, reservations, agreements, obligations, easements and other
provisions set forth in DEED dated November 1, 1988, recorded in the Bureau of Conveyances,
State of Hawaii, in Book 22555, Page 521, but deleting any covenant, condition or restriction
indicating a preference, limitation or discrimination based on race, color, religion, sex, handicap,
familial status, or natural origin to the extent such covenants, conditions or restrictions violate 42

USC 3604(c) or Section 515-6, HRS.

Agreement for FARM DWELLING, executed by STEVEN T. ROUSH, MARY GAY ROUSH,
MICHAEL E. MAYS, MEREDITH S. MURPHY, HOLT H. BLANCHARD, and EARL L.
SIMPSON, “Applicants”, and between COUNTY OF KAUAI Planning Department,
"Department", on the terms, covenants and conditions contained therein, dated April 3, 1990,
recorded in the Bureau of Conveyances, State of Hawaii, as Document No. 90-069221 (re-

recorded as Document Nos. 90-070741 and 91-144797).

An easement affecting that portion of said land and for the purposes stated herein and incidental
purposes as provided in GRANT, granted to CITIZENS UTILITIES COMPANY, for a perpetual
nonexclusive easement to build, construct, reconstruct, rebuild, repair, maintain and operate
electrical transformers and underground lines, etc., for the transmission and distribution of
electricity, etc., dated July 5, 1990, recorded in the Bureau of Conveyances, State of Hawaii, as

Document No. 90-151401.

Condominium Map No. 1531, filed in the Bureau of Conveyances, State of Hawaii.
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Matters in an instrument that, among other things, contain or provide for easements, assessments,
liens and their subordination; provisions relating to partition, restrictions on severability of
component interest, covenants, conditions and restrictions, provision that no violation thereof
and no enforcement of any lien provided for therein shall defeat or render invalid the lien of a
mortgage or deed of trust made in good faith and for value, but omitting any covenants or
restrictions if any, based upon race, color, religion, sex, handicap, familial status, or national
origin unless and only to the extent that said covenant (a) is exempt under Title 42, Section 3607
of the United States Code or (b) relates to handicap but does not discriminate against
handicapped persons, as set forth in Declaration of Condominium Property Regime recorded
July 23, 1991 in the Bureau of Conveyances, State of Hawaii, as Document No. 91-098349, as

amended.

By-Laws of the Association of Apartment Owners of MAUKA LANI, recorded July 23, 1991 in
the Bureau of Conveyances, State of Hawaii, as Document No. 91-098350.

An easement affecting that portion of said land and for the purposes stated herein and incidental
purposes as provided in GRANT, granted to CITIZENS UTILITIES COMPANY, for a perpetual
tight and easement to build, construct, reconstruct, rebuild, repair, maintain and operate pole and
wire lines and/or underground lines, etc. for the transmission and distribution of electricity, etc.,
dated December 21, 1990, recorded March 11, 1992 in the Bureau of Conveyances, State of

Hawaii, as Document No, 92-035491.

Covenants, conditions, restrictions, reservations, agreements, obligations, easements and other
provisions set forth in Apartment Deed dated October 28, 1991, recorded November 5, 1991 in
the Bureau of Conveyances, State of Hawaii, as Document No. 91-151949, but deleting any
covenant, condition or restriction indicating a preference, limitation or discrimination based on
race, color, religion, sex, handicap, familial status, or natural origin to the extent such covenants,
conditions or restrictions violate 42 USC 3604(c) or Section 515-6, HRS.

Any and all easements encumbering the apartment herein mentioned, and/or the common interest
appurtenant thereto, as created by or mentioned in said Declaration, as said Declaration may be
amended from time to time in accordance with the law and/or in the Apartment Deed, and/or as

delineated on said Condominium Map.

TOGETHER ALSO WITH all built-in furniture, attached existing fixtures, built-in appliances, water
heater, electrical and/or gas and plumbing fixtures, attached carpeting, disposal, pool equipment (all),
TV cable outlet, ceiling fan, dryer, range, smoke detectors, washer, existing window coverings,
dishwasher and refrigerator, presently situate in or used in connection with the residence located upon

the above described real property.

End of Exhibit “A”
